Case 3:09-cr-30168-DRH    Document 33    Filed 02/03/10   Page 1 of 2   Page ID #61




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

APRIL ASKEW,

Defendant.                                                No. 09-30168-DRH

                                     ORDER

HERNDON, Chief Judge:

             This matter was referred to United States Magistrate Judge Clifford J.

Proud for the specific purpose of conducting a change of plea for Defendant Askew,

pursuant to 28 U.S.C. § 636, LOCAL RULE 72.1(b)(2) and Defendant Askew’s

consent (Doc. 24). Pursuant to FEDERAL RULE OF CRIMINAL PROCEDURE 11, the

change of plea hearing was held on January 15, 2010 (Doc. 26). During the change

of plea, Defendant Askew plead guilty to Count 1 of the Indictment, conspiracy to

distribute and possess with intent to distribute marijuana, following a thorough

colloquy with Judge Proud. Also during the change of plea hearing, the Government

orally agreed that prior to sentencing the forfeiture claim in Count 2 would be

withdrawn. Thereafter, Judge Proud issued a Report and Recommendation (“the

Report”) recommending that the Court accept Defendant Askew’s plea of guilty (Doc.

30).

             In accordance with 28 U.S.C. § 636(b)(1)(B), the parties were allowed

                                    Page 1 of 2
Case 3:09-cr-30168-DRH    Document 33     Filed 02/03/10      Page 2 of 2   Page ID #62




fourteen days to file written objections. As of this date, neither party has filed an

objection. Therefore, the Court ADOPTS the Report in its entirety. Thus, it is the

finding of the Court in the case of United States v. April Askew, that Defendant

Askew was fully competent and capable of entering an informed plea, that she was

aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty was a knowing and voluntary plea supported by an independent basis

in fact containing each of the essential elements of the offense. Accordingly, the

Court ACCEPTS Defendant Askew’s guilty plea and ADJUDGES her GUILTY on

Count 1 of the Indictment. Further, the Court FINDS that the parties agreed that the

forfeiture claim contained in Count 2 would be withdrawn by the Government. The

Court REMINDS the parties that this matter for sentencing on May 7, 2010 at 2:30

p.m.

             IT IS SO ORDERED.

             Signed this 3rd day of February, 2010.



                                                   /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court




                                     Page 2 of 2
